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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )    Case No. 21-cr-00040-TNM
                                 )
FEDERICO KLEIN.                  )
                                 )
                                 )
               Defendant         )
                                 )



                MOTION TO WITHDRAW APPEARANCE




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                                      Attorney for Defendant
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      NOW COMES William L. Shipley and moves this Honorable Court to

allow him to withdraw his appearance as counsel for the following reasons:

   1. Stanly Woodward has been primary counsel for Defendant Klein.

   2. Mr. Shipley entered an appearance into the case for the sole purpose as

      co-counsel during trial, so no undue delay shall be caused.

   3. Due to a scheduling conflict, Mr. Shipley will no longer be able to

      participate in trial for Defendant Klein.

      WHEREFORE, undersigned counsel requests that he be allowed to

withdraw his appearance as counsel in this matter.



Dated: May 29, 2023                   Respectfully submitted,

                                      /s/ William L. Shipley
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